












Dismissed and
Memorandum Opinion filed December 23, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-96-00037-CV

____________

&nbsp;

VANZON INTERNATIONAL, INC., Appellant

&nbsp;

V.

&nbsp;

ROTATING SERVICES, INC. and KENT A . WEIGHTMAN, Appellees

&nbsp;

&nbsp;



On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 653,880

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an appeal from a judgment signed November 17, 1995.&nbsp;
On May 2, 1996, this court abated this appeal because appellees Rotating
Services, Inc. and Kent A. Weightman petitioned for voluntary bankruptcy in the
United States Bankruptcy Court for the Southern District of Texas, under cause
number 96-40610-H1-11.&nbsp; See Tex. R. App. P. 8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on April 11,
1997.&nbsp; The parties failed to advise this court of the bankruptcy court action.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 18, 2010, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices
Seymore, Boyce and Christopher.





